Case 2:24-cr-00053-JDC-TPL Document 1 Filed 03/20/24 Page 1 of 6 PageID #: 1
            MEIVED
         _U,S, DISTRICT COURT
     WEgreRN DISTRICT OF LOUISIANA

           MA^tX2024UNITED STATES DISTRICT COURT

        DANIElL. Mc^OY CLEWSTERN DISTRICT OF LOUISIANA
 BY-_          -".,

                                "LAKE CHARLES DIVISION

UNITED STATES OF AMERICA * CRIMINAL NO.
               * 18 U.S.C. §§ 1343, 1001(a)(2), 981
VERSUS * 28 U.S.C. ^ 2461
                                         *

JENILEA PENA (01) * 2:24-cr-00053-01
                           Judge Cain
               INDICTMENT Magistrate Judge LeBlanc

THE GRAND JURY CHARGES:

                                        COUNT 1
                                      Wire Fraud
                                     18 U.S.C. § 1343

A. INTRODUCTION

   At all times material herein:

       1. The defendant, JENILEA PENA, was a member of RJTH, LLC. RJTH,

LLC operated a Planet Nutrition in Lake Charles, Louisiana and consisted of three

members, including the defendant, who owned a 25% interest, R.P., who owned a 25%


interest, and T.R., who owned a 50% interest.


      2. On JVtarch 13, 2020, President Trump declared the ongoing Coronavirus


Disease 2019 (COVID-19) pandemic of sufficient severity and magnitude to warrant

an emergency declaration for all states, tribes, territories, and the District of


Columbia, pursuant to section 501(b) of the Robert T. Stafford Disaster Relief and

Emergency Assistance Act, 42 U.S.C. § 5121-5207.


      3. The Coronavims Aid, Relief, and Economic Security Act ("CARES" Act)


was a federal law enacted on March 27, 2020, designed to provide emergency financial
Case 2:24-cr-00053-JDC-TPL Document 1 Filed 03/20/24 Page 2 of 6 PageID #: 2




 assistance to the millions of Americans who were suffering the economic effects


 caused by the COVID-19 pandemic. One source of relief provided by the CARES Act

 was the authorization of the Economic Injury Disaster Loan ( EIDL ) program. EIDL

 is a Small Business Administration ("SBA) program that provides low-interest

 funding to small businesses, renters, and homeowners affected by declared disasters.


       4. Any funds issued under an EIDL were issued directly by the SBA, which

 is an agency of the United States government. EIDL funds shall be used solely as

 working capital for the applicant.

       5. EIDL applications are received in cloud-based platforms. The location of


 the server through which the EIDL application is submitted is based on the date the

 application was processed by SBA and the application number. During the time

 period relevant to this indictment, EIDL applications with a prefix of 33 were received

 in a cloud-based platform through SBA servers located in West Des Moines, Iowa.


 B. THE SCHEME TO DEFRAUD

       6. Beginning on or about March 31, 2020, and continuing through March


 8, 2021, the defendant, JENILEA PENA, in the Western District of Louisiana,

 knowingly devised a scheme to defraud RJTH, LLC and/or T.R., by employing false

 material representations to the SBA, in order to obtain money and property for her


 own personal use and benefit, and causing transmittal of wire communications in


 interstate commerce for the purpose of executing such scheme.


 C. MANNER AND MEANS OF THE SCHEME TO DEFRAUD

       It was part of the scheme that:
Case 2:24-cr-00053-JDC-TPL Document 1 Filed 03/20/24 Page 3 of 6 PageID #: 3




        7. Without T.R.'s knowledge, on or about March 31, 2020, the defendant,


 JENILEA PENA, began the process of submitting materials to the SBA requesting

 EIDL funding through EIDL Application No. 3300653654, for the business, RJTH,

 LLC. In this application, the defendant certified as to the truthfulness of the

 information in this application, including that the application was submitted on

 behalf of the individual owners of RJTH, LLC, those being T.R., R.P., and the


 defendant.


        8. On or about May 8, 2020, as a requirement to receive the loan funds, the


 defendant, JENILEA PENA, electronically signed a Loan Authorization and

 Agreement on behalf of RJTH, LLC, without T.R. s knowledge. As part of this

 agreement, the defendant agreed that all of the proceeds of this loan would be used


 as working capital for RJTH, LLC.

        9. On or about June 9, 2020, because of the defendant's false material


 representations to the SBA, the defendant caused a wire transfer in the amount of


 $96,900I from the SBA/United States Treasury to RJTH, LLC?s Hancock Whitney

 bank account ending in XXXX1879.

        10. Thereafter, without T.R/s knowledge, the defendant used these EIDL


 loan funds for her own personal use and benefit, and not for the sole working capital


 for RJTH, LLC.

        11. On or about March 8, 2021, in order to remain in compliance on the


 $97,000 loan received from the SBA for RJTH, LLC, the defendant, without T.R/s




 1 Pursuant to the Loan Authorization and Agreement, a third-party UCC handling charge of $100
was deducted from the loan amount of $97,000 prior to disbursement.

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Case 2:24-cr-00053-JDC-TPL Document 1 Filed 03/20/24 Page 4 of 6 PageID #: 4




 knowledge, electronically submitted a fraudulent and fictitious resolution of the

 board of directors of "Planet Nutrition, LLC", falsely representing that it was signed


 by T.R., and falsely stating that this resolution was a true and correct copy presented


 at a meeting held on December 15, 2020.


 D. THE CHARGE

        12. On or about June 9, 2020, in the Western District of Louisiana and


 elsewhere, the defendant, JENILEA PENA, for the purpose of executing the scheme

 described above, caused to be transmitted by means of wire communication in


 interstate commerce, certain signals, signs, and sounds; that is, a wire transfer of


 $96,900 from the SBA/United States Treasury to a Hancock Whitney bank account

 ending in XXXX1879, all in violation of Title 18, United States Code, Section 1343

 [18U.S.C.§ 1343].

                                       COUNT 2
                     False Statement or Representation Made
                 to a Department or Agency of the United States
                                18 U.S.C. § 1001(a)(2)

       1. That on or about March 8, 2021, the defendant, JENILEA PENA, did

willfully and knowingly make a materially false, fictitious, and fraudulent statement

and representation in a matter within the jurisdiction of the executive branch of the


Government of the United States, by representing to the Small Business


Administration that the defendant, R.P and T.R. were members of a business called


 Planet Nutrition, LLC"; that a resolution was presented on December 15,2020; and


that such resolution was signed by T.R.
Case 2:24-cr-00053-JDC-TPL Document 1 Filed 03/20/24 Page 5 of 6 PageID #: 5




       2. The defendant's false statements and representations were made by the


 defendant in the Western District of Louisiana.

       3. The defendant's statements and representations were false because, as


the defendant then and there knew that she, R.P. and T.R. were not members of a


business called "Planet Nutrition, LLC"; that she, R.P. and T.R. did not have a


 meeting on December 15, 2020; and that T.R. did not sign this resolution.


       All in violation of Title 18, United States Code, Section 1001(a)(2) [18 U.S.C. §

 1001(a)(2)].

                          FORFEITURE ALLEGATIONS

       1. The allegations contained in this Indictment are hereby realleged and

incorporated herein by this reference for the purpose of alleging forfeiture.


       2. Pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), upon

conviction of an offense in violation of 18 U.S.C. § 1343, as alleged in Count 1 of this

Indictment, the defendant, JENILEA PENA, shall forfeit to the United States any

property, real or personal, which constitutes or is derived from proceeds of the


traceable offense.


                                               ATBCT^F
                                                   REDACTED
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Case 2:24-cr-00053-JDC-TPL Document 1 Filed 03/20/24 Page 6 of 6 PageID #: 6




 BRANDON B. BROWN
 United States Attorney

       ^' y^—
 LAUREN L. GARDNER, LA# 30595
 Assistant United States Attorney
 800 Lafayette Street, Suite 2200
 Lafayette, LA 70501
 (337) 262-6618
